           22-11347-dsj            Doc 1          Filed 10/07/22           Entered 10/07/22 23:36:41                        Main Document
                                                                         Pg 1 of 3
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of New  York

 Case number (If known): _________________________ Chapter 15                                                                                # Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Global Cord Blood Corporation
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                  #     Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  #           227732
                                                        Other ___________________________.                     Cayman Islands ID number
                                                                                           Describe identifier _____________________________.


                                           For individual debtors:

                                                  #     Social Security number:    xxx – xx– ____ ____ ____ ____

                                                  #     Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                  #     Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Margot MacInnis, John Royle, and Chow Tsz Nga Georgia
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             In the Matter of Global Cord Blood Corp., FSD2022-0108 (Cayman Islands)
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           #      Foreign main proceeding
                                           #      Foreign nonmain proceeding
                                           #      Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               #      A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                           #      A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                           #      Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign              #      No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
     foreign representative(s)?
                                           #      Yes




Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                   page 1
              22-11347-dsj         Doc 1         Filed 10/07/22           Entered 10/07/22 23:36:41                         Main Document
                                                                        Pg 2 of 3
Debtor          Global  Cord Blood Corporation
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Cayman    Islands
                                        ______________________________________________                   94 Solaris Avenue
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         PO Box 1348
                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Grand Cayman KY1-1108
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         Cayman Islands
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 2nd Floor, Century Yard, Cricket Square
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 PO Box 1044
                                                                                                         _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Grand Cayman KY1-1102
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 Cayman Islands
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              https://www.globalcordbloodcorp.com
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:

                                         #      Non-individual (check one):

                                                 #    Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                  #   Partnership

                                                  #   Other. Specify: ________________________________________________

                                         #      Individual




     Official Form 401                          Chapter 15 Petition for Recognition of a Foreign Proceeding                                      page 2
            22-11347-dsj         Doc 1       Filed 10/07/22            Entered 10/07/22 23:36:41                       Main Document
                                                                     Pg 3 of 3
Debtor        Global  Cord Blood Corporation
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                        #    Debtor’s principal place of business or principal assets in the United States are in this district.
                                       #    Debtor does not have a place of business or assets in the United States, but the following
                                            action or proceeding in a federal or state court is pending against the debtor in this district:
                                            ___________________________________________________________________________.

                                       #    If neither box is checked, venue is consistent with the interests of justice and the convenience
                                            of the parties, having regard to the relief sought by the foreign representative, because:
                                             ___________________________________________________________________________.



13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                       "    ________________________________________________          Margot MacInnis
                                                                                                      _______________________________________________
                                           Signature of foreign representative                       Printed name


                                       Executed on         10/07/2022
                                                           __________________
                                                            MM / DD / YYYY



                                       "    ________________________________________________          John Royle
                                                                                                      _______________________________________________
                                           Signature of foreign representative                       Printed name


                                       Executed on         10/07/2022
                                                           __________________
                                                            MM / DD / YYYY




14.   Signature of attorney
                                       " /s/      Joshua Dorchak
                                            _________________________________________________ Date                 10/07/2022
                                                                                                                  _________________
                                            Signature of Attorney for foreign representative                      MM   / DD / YYYY


                                           Joshua  Dorchak
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Morgan,   Lewis & Bockius LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           101 Park Avenue
                                           _________________________________________________________________________________________________
                                           Number         Street
                                           New  York
                                           ____________________________________________________ NY          10178
                                                                                                 __________________________________________
                                           City                                                           State         ZIP Code


                                           (212)  309-6700
                                           ____________________________________                           joshua.dorchak@morganlewis.com
                                                                                                          __________________________________________
                                           Contact phone                                                  Email address




                                           3934031                                                NY
                                           ______________________________________________________ ____________
                                           Bar number                                                     State




  Official Form 401                         Chapter 15 Petition for Recognition of a Foreign Proceeding                                   page 3
